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                                                                                             CLERK OF STATE COURT
                                                                                           LIBERTY COUNTY, GEORGIA
                                                                                        STSV2022000129
                          IN THE STATE COURT OF LIBERTY COUNTY                                      JO
                                    STATE OF GEORGIA                                       MAY 26, 2022 03:29 PM


 SADIE EDWARDS, as legal guardian and next
 friend of ADAM EDWARDS,
                                                            Civil Action File No.
           Plaintiff,
                                                            JURY TRIAL DEMANDED
 v.

 HISCOX, INC., HISCOX INSURANCE
 COMPANY INC.,                 AMERICA, INC.,
 d/b/a Certain Underwriters at      London, and
 CERTAIN UNDERWRITERS AT
 LONDON,

           Defendants.

                                             COMPLAINT

         Plaintiff Sadie Edwards, as legal guardian and next friend of Adam Edwards, brings this

complaint against Hiscox, Inc., Hiscox Insurance Company Inc.,                America, Inc., d/b/a

Certain Underwriters at              London, and Certain Underwriters at              London, showing

as follows.

                                           INTRODUCTION

1. HealthCare Staffing, Inc.               was insured under a Hiscox           liability policy when

              employee injured             son, Adam Edwards. Plaintiff gave HCS, Hiscox, and

               the opportunity to settle         tort claims against HCS, but Hiscox and

      refused to settle and denied coverage. Hiscox and            further refused to provide a

      defense to HCS in              lawsuit against HCS.            and            negligent and bad-

      faith failure to settle and breach of the duty to defend resulted in a judgment of

      $5,000,000.00, plus liability for attorney fees and litigation costs, against HCS.

                             PARTIES, JURISDICTION AND VENUE
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2. The foregoing paragraphs are hereby incorporated by reference as if fully realleged herein.

3. Plaintiff Sadie Edwards is a resident of Georgia. Plaintiff submits to jurisdiction and venue in

   this Court.

4. Adam Edwards is               adult son. Adam is highly autistic and nonverbal. Plaintiff has

   been appointed legal guardian of Adam. Plaintiff brings this action as           legal guardian

   and next friend.

5. Defendant Hiscox, Inc. is a corporation organized and existing under the laws of Delaware

   and with its corporate headquarters in Atlanta, Georgia. Hiscox, Inc. is authorized to transact

   business in Georgia and is engaged in business as an insurance company in Georgia. Hiscox,

   Inc. may be served with process by delivering a summons and copy of this Complaint to its

   registered agent for service of process, Corporation Service Company, 2 Sun Court, Suite

   400, Peachtree Corners, Gwinnett County, Georgia 30092. Hiscox, Inc. is subject to

   jurisdiction in this Court.

6. Defendant Hiscox Insurance Company Inc. is a corporation organized and existing under the

   laws of Illinois and with its corporate headquarters in Atlanta, Georgia. Hiscox Insurance

   Company Inc. is authorized to transact business in Georgia and is engaged in business as an

   insurance company in Georgia. Hiscox Insurance Company Inc. may be served with process

   by delivering a summons and copy of this Complaint to its registered agent for service of

   process, Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett

   County, Georgia 30092. Hiscox Insurance Company Inc. is subject to jurisdiction in this

   Court.

7. Defendants Hiscox, Inc. and Hiscox Insurance Company Inc. are referred to collectively

   herein as



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8. Defendant              America, Inc., d/b/a Certain Underwriters at             London, is a

     corporation organized and existing under the laws of New York and with its southeast

     regional headquarters in Atlanta, Georgia.              America, Inc., is authorized to transact

     business in Georgia and is engaged in the insurance business in Georgia.               America,

     Inc., may be served with process by delivering a summons and copy of this Complaint to its

     registered agent for service of process, CT Corporation System, 289 S. Culver St.,

     Lawrenceville, Gwinnett County, Georgia 30046.

9.            America, Inc., is subject to personal jurisdiction in Georgia because it is and was at

     all relevant times authorized by the Secretary of State of Georgia to do or transact business in

     this State, and therefore is a resident of this State. In the alternative,        America, Inc.,

     is subject to personal jurisdiction in Georgia pursuant to O.C.G.A. § 9-10-91 because it

     transacts business in this state, it committed a tortious act or omission within this state,

     and/or it committed a tortious injury in this state caused by an act or omission outside this

     state.          America, Inc., regularly does or solicits business, or engages in another

     persistent course of conduct, or derives substantial revenue from goods used or consumed or

     services rendered in Georgia.

10. Certain Underwriters at              London                      is, upon information and belief, a

     wholly owned subsidiary of Hiscox Dedicated Corporate Member Limited of the United

     Kingdom. Underwriters is engaged in the insurance business in Georgia and has availed

     itself of the courts in Georgia, including by filing motions for relief in three underlying

     related actions in this Court1 and by filing an action against Plaintiff and others in federal



1Edenfield v. Healthcare Staffing, Inc., No. STSV2017000102 (motion filed Feb. 9, 2022); Edwards v.
Healthcare Staffing, Inc., No. STSV2018000028 (motion filed Feb. 9, 2022); Moore v. Healthcare
Staffing, Inc., No. STSV2018000030 (motion filed Feb. 9, 2022).

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    court.2 Underwriters may be served with process by delivering a summons and copy of this

    Complaint to           America, Inc., 280 Park Avenue, East Tower, 25th Floor, New York,

    New York 10017.

11. Underwriters is subject to personal jurisdiction in Georgia pursuant to O.C.G.A. § 9-10-91

    because it transacts business in this state, it committed a tortious act or omission within this

    state, and/or it committed a tortious injury in this state caused by an act or omission outside

    this state. Underwriters regularly does or solicits business, or engages in another persistent

    course of conduct, or derives substantial revenue from goods used or consumed or services

    rendered in Georgia.

12. Defendants           America, Inc., and Underwriters are referred to collectively herein as



13. Venue is proper in this Court pursuant to O.C.G.A. § 14-2-510(b) and O.C.G.A. § 9-10-93

    because Plaintiff asserts a cause of action in tort that originated in Liberty County.

                                  FACTUAL ALLEGATIONS

14. The foregoing paragraphs are hereby incorporated by reference as if fully realleged herein.

15. At all times relevant to this Complaint, Adam was a patient of Gateway Behavioral Health

    Services, also known as the Gateway Community Service Board ( Gateway ), a legislatively

    created entity in coastal Georgia that serves individuals with developmental disabilities and

    other conditions.

16. HCS is a Georgia staffing agency that supplies individuals to serve on the staffs of hospitals,

    nursing homes, long-term care facilities, and Community Service Boards in Georgia.




2Certain Underwriters at         London Subscribing to Policy No. AH00000154-01 v. Edenfield, et al.,
No. CV422-035 (S.D. Ga. filed Feb. 4, 2022).

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17. At all times relevant to this Complaint, HCS held a contract to supply staff members to

   Gateway.

18. At all times relevant to this Complaint, Errol Wilkins was an employee of HCS whom HCS

   had placed in an instructor/social aide position at Gateway.

19. At all times relevant to this Complaint, Adam was in the care, custody, and control of

   Gateway.

20. At no time did HCS or its employees have care, custody, or control of Adam.

21. On multiple occasions during December 2015, January 2016, and February 2016, Mr.

   Wilkins hit Adam with his fists, hands, and a wooden arm from a rocking chair.

22. On multiple occasions during December 2015, January 2016, and February 2016, Mr.

   Wilkins threatened, intimidated, and humiliated Adam.

23. On multiple occasions, including during December 2015, January 2016, and February 2016,

   Plaintiff reported to HCS employees that Adam had wounds and/or bruises on his body and

   questioned the employees about them, but they never told her that Mr. Wilkins had been

   striking Adam.

24. No HCS employees reported Mr.               conduct toward Adam to Adult Protective

   Services, the local police department, or any other governmental or law-enforcement agency.

25. When Gateway received a report on or about February 27, 2016, that another patient had

   been abused and it investigated those allegations, multiple HCS employees on staff at

   Gateway finally admitted that they had observed Mr.              wrongful conduct toward

   Adam and other patients over the course of several months.

26. Mr. Wilkins had a criminal history that included, at minimum, a conviction for robbery and

   charges for battery and armed robbery.



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27. Mr.            prior robbery conviction disqualified him from being on staff at Gateway due

   to regulations issued by the Georgia Department of Behavioral Health and Developmental

   Disabilities.

28. Adam suffered severe physical and mental injuries as a direct and proximate result of

   negligent failure to train Mr. Wilkins, negligent failure to train its other employees, negligent

   hiring of Mr. Wilkins, negligent hiring of its other employees, negligent retention of Mr.

   Wilkins, negligent retention of its other employees, negligent placement of Mr. Wilkins at

   Gateway, negligent placement of other employees at Gateway, negligent supervision of Mr.

   Wilkins, and/or negligent supervision of its other employees.

29. Adam was harmed not only by the negligent acts and omissions of Mr. Wilkins, but by the

   negligent acts and omissions of other HCS employees.

30. During at least the period from July 24, 2015, through July 24, 2016 (the

            , HCS was a named insured policyholder on a policy issued by Hiscox, policy

   number AH00000154-01                       which included both commercial general liability

             coverage and professional liability coverage.

31. On information and belief, Hiscox wrote and issued the Policy and formed the contractual

   relationship with HCS.

32. On information and belief, Hiscox and a syndicate of           entered into a contract by

   which Hiscox would solicit business from potential insureds, write insurance policies, issue

   insurance policies, receive notices of claims from insureds and/or claimants, make coverage

   determinations, and otherwise act as the            insurance company, while members of the

            syndicate would pay claims and/or defense costs for which Hiscox determined

   coverage existed under the policies written and issued by Hiscox.



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33. Upon information and belief, all premiums paid by HCS with respect to the Policy were paid

   to Hiscox and Hiscox accepted the premiums from HCS for the Policy.

34. On information and belief, the contract between Hiscox and the             syndicate embraced

   the Policy and the business/contractual relationship with HCS.

35. At all times material to the events described in this Complaint, Hiscox had a right to control

             activities with respect to defending and indemnifying its insureds.

36. Gateway was not an insured under the Policy.

37. At all times material hereto, the Policy had per-claim liability limits of $1,000,000.00 and an

   aggregate limit of $3,000,000.00 for its CGL coverage.

38. The CGL coverage was                         meaning it applied to claims that arose within the

   Coverage Period.

39. At all times material hereto, the Policy had per-claim liability limits of $1,000,000.00 and an

   aggregate limit of $3,000,000.00 for its professional liability coverage.

40. The professional liability coverage was          made            meaning it applied where notice

   of an actual or potential claim was received by HCS within the Coverage Period.

41. HCS was entitled to indemnity from Hiscox and/or             under the CGL coverage for legal

   liability arising out of the events described above for injuries Adam suffered during the

   Coverage Period.

42. HCS was entitled to indemnity from Hiscox and/or             under the professional liability

   coverage for legal liability arising out of the events described above where notice of

   actual or potential claims was received by HCS within the Coverage Period.

43. On or about October 7, 2017,              counsel sent a demand letter to HCS offering to

   resolve           claims against it for $8,000,000.00. (Ex. 1).



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44. HCS promptly forwarded the demand letter to Hiscox.

45. On or about December 18, 2017, Hiscox sent a letter to HCS stating that it was denying

   coverage for          claims against HCS. (Ex. 2 at 1).

46. In particular, Hiscox stated that Endorsement E9979.1,            Abuse or Molestation

                        to preclude coverage for this matter in its            under the CGL part

   of the Policy because it excluded coverage for liability HCS might have for                to

   properly screen, investigate, and/or terminate Mr.           or             to train its

   employees to report Mr.            conduct to the proper authori         (Id. at 3).

47. Endorsement E9979.1 reads as follows:

   This insurance does not apply to                 . . . arising out of:

       (a) the actual or threatened abuse or molestation by anyone of any person while in the
           care, custody or control of any insured, or
       (b) the negligent:
                   (i) employment;
                  (ii) investigation;
                 (iii) supervision;
                 (iv) reporting to the proper authorities, or failure so to report; or
                  (v) retention;
                    of a person for whom any insured is or ever was legally responsible and
                    whose conduct would be excluded by (a) above.

   (Ex. 3).

48. Because Adam was never       the care, custody or control      HCS or any of its employees,

   paragraph (a) of Endorsement E9979.1 does not apply to his claims against HCS.

49. Paragraph (a) of Endorsement E9979.1 does not apply to any HCS employee who did not

   engage in         or threatened abuse or               of Adam.

50. Because Adam was never       the care, custody or control      HCS or any of its employees,

   paragraph (a) of Endorsement E9979.1 would not exclude the conduct of anyone for whom




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   HCS or its employees were legally responsible, and paragraph (b) does not apply to his

   claims against HCS.

51. Because the HCS employees who concealed or failed to disclose their knowledge of Mr.

              conduct did not engage in         actual or threatened abuse or molestation . . . of any

             paragraph (b) of Endorsement E9979.1 does not apply to                claims against

   HCS with respect to any of those employees.

52. Because the list of excluded activities in paragraph (b) of Endorsement E9979.1 does not

   include training, it does not apply to           claims for negligent training of Mr. Wilkins or

   for negligent training of other employees.

53. Because the list of excluded activities in paragraph (b) of Endorsement E9979.1 does not

   include job placement, it does not apply to              claims for negligence in placing Mr.

   Wilkins in a particular position on the staff at Gateway.

54. The Hiscox denial letter further acknowledged the demand identified claims that would come

   within the professional liability coverage, but it asserted that because Plaintiff did not send

   her demand letter until after the end of the Coverage Period, those claims were excluded

   from coverage. (Ex. 2 at 3).

55. Because Plaintiff had questioned HCS employees about                 wounds and bruises and an

   in-house investigation in February 2016 revealed evidence to support                 allegations

   of abuse, HCS, Hiscox, and               had notice of          potential claims during the

   Coverage Period.

56. Plaintiff filed a lawsuit for damages on           behalf on or about February 15, 2018, styled

   Sadie Edwards as Mother and as Legal Guardian of Adam Edwards, an incapacitated adult,




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      v. Healthcare Staffing, Inc. and Gateway Behavioral Health Services, No.

      STSV2018000028, in the State Court of Liberty County            Tort A       (Ex. 4).

57. The complaint in the Tort Action alleged claims against HCS not only regarding the

      negligence of Mr. Wilkins but regarding the negligence of other employees, negligent

      training of Wilkins, negligent training of other employees, negligent supervision of Wilkins,

      negligent supervision of other employees, negligent retention of Wilkins, breach of the

      staffing contract of which Adam was a third-party beneficiary, and assault and battery.

58. The complaint in the Tort Action alleged that Adam was a patient and business invitee of

      Gateway, not HCS, and that HCS placed Mr. Wilkins on the staff at Gateway pursuant to its

      staffing contract with Gateway.

59. The complaint in the Tort Action alleged that HCS should not have placed Wilkins in a

      position at Gateway that would involve contact with vulnerable persons such as Adam.

60. Some or all of the claims asserted by Plaintiff in the Tort Action were covered by the Policy.

61. On the face of the Complaint in the Tort Action, at least one claim at least arguably came

      within the coverage of the Policy.

62. HCS was entitled to a defense from Hiscox in the Tort Action.

63. HCS was entitled to a defense from            s in the Tort Action.

64. Hiscox refused to provide a defense to HCS in the Tort Action.

65.           refused to provide a defense to HCS in the Tort Action.

66. HCS provided notice of                 claims to Hiscox.

67. HCS tendered the defense of the Tort Action to Hiscox.

68. Hiscox did not pay           defense costs in the Tort Action.

69.           did not pay        defense costs in the Tort Action.



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70. Hiscox did not provide legal representation for HCS in the Tort Action.

71.           did not provide legal representation for HCS in the Tort Action.

72. Hiscox had a duty to defend HCS in the Tort Action.

73.           had a duty to defend HCS in the Tort Action.

74. Hiscox did not provide a defense for HCS in the Tort Action.

75.           did not provide a defense for HCS in the Tort Action.

76. Hiscox never identified any basis for denying coverage or a defense in the Tort Action other

      than the grounds identified in the December 2017 denial letter.

77. Because Hiscox and             denied coverage and a defense, HCS was forced to litigate the

      Tort Action at its own expense.

78. On or about March 18, 2019, Plaintiff served HCS with an Offer of Settlement for

      $500,000.00 pursuant to O.C.G.A. § 9-11-68. (See Ex. 5 at 2).

79. Hiscox did not tender the $500,000.00 demanded in the Offer of Settlement.

80.           did not tender the $500,000.00 demanded in the Offer of Settlement.

81. Hiscox had a reasonable opportunity to settle             tort claims and to protect HCS from

      a judgment in excess of policy limits.

82.           had a reasonable opportunity to settle Plaintiff tort claims and to protect HCS from

      a judgment in excess of policy limits.

83. Hiscox negligently, unreasonably, and in bad faith declined to take advantage of the

      opportunity to protect HCS from a judgment in excess of policy limits.

84.           negligently, unreasonably, and in bad faith declined to take advantage of the

      opportunity to protect HCS from a judgment in excess of policy limits.




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85. HCS withdrew its answer to Plaintiff complaint on or about December 20, 2021, and went

      into default by operation of O.C.G.A. § 9-11-55.

86. The State Court of Liberty County held a prove-damages hearing on Plaintiff         tort claims on

      or about December 29, 2021, resulting in a judgment entered against HCS and in favor of

      Plaintiff on December 29, 2021, in the amount of $5,000,000.00. (Ex. 6).

87. The judgment against HCS is final and accruing interest.

88. Because the final judgment was more than 125% greater than the amount in the Offer of

      Settlement, HCS also is liable for                       fees and litigation costs incurred

      between March 18, 2019, and December 29, 2021.

89. The amount of the judgment exceeds the $1,000,000.00 limits of the Policy.

90. On or about January 5, 2022, Plaintiff sent a demand letter to Hiscox, notifying it that HCS

      had assigned Adam its rights and claims under the Policy and offering it the opportunity to

      resolve all claims against it and HCS by paying the $5,000,000.00 judgment, plus the fees

      and costs owed under O.C.G.A. § 9-11-68. (Ex. 5 at 8).

91. Hiscox rejected              demand.

92. Hiscox has a contractual duty to indemnify HCS for the judgment and to pay other amounts

      due under the Policy.

93.           has a contractual duty to indemnify HCS for the judgment and to pay other amounts

      due under the Policy.

94. The judgment is the proximate result of              and          negligence and bad faith in

      failing to resolve the claims against HCS when they had a reasonable opportunity to do so.

95. The judgment is the proximate result of              and          breach of the duty to defend.




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96. HCS has assigned to Plaintiff all of its assignable rights and claims against Hiscox and

             . (Ex. 7). Plaintiff sues Hiscox and            as the assignee of        causes of

   action.

97. All conditions precedent to the right to bring this action have occurred or have been excused.

                                              COUNT I

  NEGLIGENT AND BAD FAITH FAILURE TO SETTLE WITHIN POLICY LIMITS

98. The foregoing paragraphs are hereby incorporated by reference as if fully realleged herein.

99. Hiscox and           owed a duty to act with ordinary care and good faith when handling

   Plaintiff claims against HCS.

100.    Under all the circumstances of this case, Plaintiff     claims in the Tort Action could and

   should have been settled by Hiscox and                , had they acted with ordinary care and good

   faith and given equal consideration to the financial interests of their insured, HCS.

101.    Hiscox and             had a reasonable opportunity to settle the claims against HCS within

   the limits of the Policy.

102.    Hiscox and             breached their duties and were negligent by actions including but not

   limited to the following:

   a. Failing and refusing to settle Plaintiff claims within the limits of the Policy when they

        had a reasonable opportunity to do so;

   b. Failing to give            financial interests at least equal consideration with their own

        interests in the handling of Plaintiff claims;

   c. Failing to settle Plaintiff claims where              liability was reasonably clear, the

        damages were in excess of the policy limits, and they were on notice that they had an

        opportunity to settle the case;



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   d. Negligently and carelessly adjusting Plaintiff claims;

   e. Failing to adopt and implement procedures for the prompt investigation and settlement of

        claims for losses such as         ; and/or

   f. Failing to handle the entire claim in accordance with applicable laws, statutes,

        governmental and industry regulations that establish obligations and standards of conduct

        for liability insurance companies handling claims, as well as with          and

        own policies.

103.    As a proximate result of these breaches by Hiscox and          , Plaintiff claims did not

   settle within policy limits and a lawsuit was filed against its insured, HCS.

104.    As a proximate result of these breaches by Hiscox and          , a judgment was entered

   against HCS.

105.    As a proximate result of these breaches by Hiscox and          , HCS owes an amount to

   Plaintiff in excess of the policy limits.

106.    Hiscox and          are liable to HCS for the full amount of the judgment plus § 9-11-68

   fees and costs, interest, and other damages.

107.    Plaintiff is entitled to recover special damages in an amount to be determined by the

   enlightened conscience of the jury, including but not limited to the amount of the judgment, §

   9-11-68 fees and costs, post-judgment interest, and other special and general damages for the

   foreseeable harm resulting from               and       actions.

                                               COUNT II

                                    BREACH OF CONTRACT

108.    The foregoing paragraphs are hereby incorporated by reference as if fully realleged

   herein.



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109.    Hiscox and          had a contractual duty under the Policy to defend HCS in the Tort

   Action.

110.    Hiscox and          received prompt notice of the Tort Action, triggering the duty to

   defend.

111.    HCS fulfilled all conditions precedent for coverage under the Policy.

112.    Hiscox and          denied coverage and a defense to HCS.

113.    Hiscox and          breached the Policy by failing to defend HCS in the Tort Action.

114.    Hiscox and              failure to defend HCS is a direct and proximate cause of the

   judgment entered against HCS and other damages alleged herein.

115.    Alternatively, had Hiscox and           provided a defense to HCS, the judgment would

   have been substantially less.

116.    Hiscox and          are liable for their breaches of contract.

117.    Plaintiff is entitled to recover damages in an amount to be determined by the enlightened

   conscience of the jury for            and          breaches of the contractual obligations of the

   Policy.

                                            COUNT III

                                      CIVIL CONSPIRACY

118.    The foregoing paragraphs are hereby incorporated by reference as if fully realleged

   herein.

119.    Defendants combined and acted in concert to commit wrongful acts against Plaintiff.

120.    Defendants, positively or tacitly, arrived at a mutual understanding to accomplish the

   unlawful and wrongful design of denying insurance coverage for their insured, HCS, to the




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   detriment of their insured and the Plaintiff, solely to advance the business and financial

   interests of all Defendants.

121.    Specifically, Defendants acted in concert to wrongfully and in bad faith:

   a. Fail and refuse to settle               claims within the limits of the Policy when they had a

        reasonable opportunity to do so;

   b. Fail to give            financial interests at least equal consideration with their own interests

        in the handling of Plaintiff claims;

   c. Fail to settle Plaintiff claims where             liability was reasonably clear, the damages

        were in excess of the policy limits, and they were on notice that they had an opportunity

        to settle the case;

   d. Negligently and carelessly adjust Plaintiff claims;

   e. Fail to adopt and implement procedures for the prompt investigation and settlement of

        claims for losses such as those of the Plaintiff;

   f. Fail to handle the entire claim in accordance with applicable laws, statutes, governmental

        and industry regulations that establish obligations and standards of conduct for liability

        insurance companies handling claims, as well as with                    own policies;

   g. Fail to consider information provided by Plaintiff and HCS regarding the nature of

        Plaintiff tort claims against HCS;

   h. Fail to consider the substance and allegations in the complaint in the Tort Action

        regarding the fact that Adam was in the care, custody, and control of Gateway, not HCS;

   i. Fail to consider the substance and allegations in the complaint in the Tort Action

        regarding the fact that Plaintiff asserted claims regarding the conduct of HCS employees

        who had not engaged in actual or threatened abuse or molestation of Adam;



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   j. Fail to consider the substance and allegations in the complaint in the Tort Action

        regarding the fact that Plaintiff asserted claims regarding the negligent training of Mr.

        Wilkins and other HCS employees;

   k. Fail to consider the substance and allegations in the complaint in the Tort Action

        regarding the fact that Plaintiff asserted claims regarding the negligent placement of Mr.

        Wilkins and other HCS employees on the staff at Gateway; and

   l. Fail to consider the substance and allegations in the complaint in the Tort Action

        regarding the fact that HCS was put on notice of             potential claims during the

        Coverage Period.

122.    By reasons of Defendants' concerted action and conspiracy to commit wrongful and

   unlawful acts, or to commit lawful acts by unlawful means or methods, Defendants are

   jointly and severally liable for the acts committed by each Defendant in furtherance of the

   conspiracy.

123.    As a proximate result of these breaches by Defendants,              claims did not settle

   within policy limits and a lawsuit was pursued against their insured, HCS.

124.    As a proximate result of these breaches by Defendants, a judgment was entered against

   HCS.

125.    As a proximate result of these breaches by Defendants, a judgment was entered against

   HCS in excess of the policy limits.

126.    Defendants are liable to HCS for the full amount of the judgment plus § 9-11-68 fees and

   costs, interest, and other damages.

127.    Plaintiff is entitled to recover special damages in an amount to be determined by the

   enlightened conscience of the jury, including but not limited to the amount of the judgment,



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   § 9-11-68 fees and costs, post-judgment interest, and other special and general damages for

   the foreseeable harm resulting from Defendants' actions.

                                            COUNT IV

                                     FEES AND EXPENSES OF LITIGATION

128.    The foregoing paragraphs are hereby incorporated by reference as if fully realleged

   herein.

129.    Hiscox and            have acted in bad faith, been stubbornly litigious, and have caused

   unnecessary trouble and expense within the meaning of O.C.G.A. § 13-6-11.

130.    Plaintiff is entitled to recover          fees and other expenses of litigation.

   WHEREFORE, Plaintiff respectfully prays and demands as follows:

   a. That service and process issue and that Defendants be served with process as required by

        law and that Defendants be required to appear and answer;

   b. That Plaintiff receive a TRIAL BY JURY;

   c. That judgment be entered against Defendants and in favor of Plaintiff;

   d. That Plaintiff be awarded all special, compensatory, contractual, general, and other

        damages allowable by law and shown by the evidence;

   e. That Plaintiff be awarded all              fees and expenses attributable to this action;

   f. That costs be taxed against Defendants;

   g. That Plaintiff be awarded pre-judgment interest; and

   h. That Plaintiff receive all such other and further relief as this Court deems just and proper.

        This the 26th day of May, 2022.

                                                      HARRIS LOWRY MANTON LLP

                                                       /s/ Jed D. Manton
                                                      JEFFREY R. HARRIS


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                                     19
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                                                                                       CLERK OF STATE COURT
                                                                                     LIBERTY COUNTY, GEORGIA


                     IN THE STATE COURT OF LIBERTY COUNTY
                               STATE OF GEORGIA

 SADIE EDWARDS As Mother and As Legal :
Guardian of ADAM EDWARDS, An          :
incapacitated Adult,                  :
                                      :
       Plaintiffs,                    : CIVIL ACTION NO.:
                                      :
v.                                    :
                                      :
HEALTHCARE STAFFING, INC. and         :
GATEWAY BEHAVIORAL HEALTH             :
SERVICES,                             :
                                      :
       Defendants.


                                         COMPLAINT

       COME NOW, plaintiffs and respectfully show this Honorable Court the following in

support of her claims:

                                   PARTIES DEFENDANT

                                                1.

       Defendant Healthcare Staffing, Inc. (hereinafter “Staffing”) has its Principal Place of

Business at 1724 Phoenix Parkway, College Park, GA 30349 and is subject to the jurisdiction

and venue of this Court pursuant to OCGA §14-3-510(b)(4).

                                                2.

       Please serve Defendant Staffing by and through its Registered Agent for Service, Tracy

L. Cameron, at 1724 Phoenix Parkway, Building 600, College Park, GA 30349 through the

Sheriff of Clayton County.

                                                3.

       Defendant Gateway Behavioral Health Services (hereinafter “Gateway”) has its places of
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operation at 1113 E Oglethorpe Hwy #84, Hinesville, GA 31313 and 760 South Main Street,

Hinesville, GA 31313 and is therefore subject to the jurisdiction and venue of this Court pursuant

to OCGA §37-2-11.1(a) and as a joint tortfeasor.

                                                4.

       Please serve Gateway by and through its Chief Executive Officer, Dr. Mark Johnson, at

600 Coastal Village Drive, Brunswick, GA 31520 through the Sheriff of Glynn County.

                                                5.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with “high quality customer service focused on outcomes of improved health.”

                                                5a.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with “service with integrity in a culturally competent, ethical and respectful manner.”

                                                5b.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with “consistent treatment, providing strengths-based care, focused on an individual’s

personal goals.”

                                                5c.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with “a work environment that encourages passion, creativity, and team work in an
    Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 33 of 86




atmosphere of compassion, flexibility and optimism.”

                                                5d.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients with an environment which fostered “hope to all individuals served.”

                                                5e.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent employees who would treat Defendant Gateway’s

patients “humanely.”

                                                5f.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

provide Defendant Gateway with competent and properly screened employees.

                                                5g.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation

perform a criminal background check on all employees to be provided to Defendant Gateway.

                                                5h.

       At all times pertinent to this lawsuit, Defendant Staffing had a contractual obligation to

perform a ten (10) point drug screen on all employees to be provided to Defendant Gateway.

                                                6.

       At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Mr. Adam Edwards (hereinafter “Adam”) with a safe and secure environment in which

to provide Adam with “high quality customer service focused on outcomes of improved health.”
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                                                6a.

       At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Adam with a safe and secure environment in which to provide Adam with “service with

integrity in a culturally competent, ethical and respectful manner.”

                                                6b.

       At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Adam with a safe and secure environment in which to provide Adam with “consistent

treatment, providing strengths-based care, focused on an individual’s personal goals.”

                                                6c.

       At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Adam with a safe and secure environment in which to provide Adam with “a work

environment that encourages passion, creativity, and team work in an atmosphere of compassion,

flexibility and optimism.”

                                                6d.

       At all times pertinent to this lawsuit, Defendant Gateway had a contractual obligation to

provide Adam with a safe and secure environment in which to provide Adam with “hope to all

individuals served.”

                                                6e.

       At all times pertinent to this lawsuit, Defendant Gateway, as owner of the premises where

Adam was abused, had a legal obligation to provide all invitees with a safe and secure

environment in which to participate in Defendant Gateway’s programs and treatments.

                                                6f.

       At all times pertinent to this lawsuit, Adam was an invitee of Defendant Gateway.
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                                               6g.

       Defendant Gateway’s Mission statement is:

               We provide hope for recovery to individuals with mental illness,

               addictive diseases, and developmental disabilities.

                                    PARTIES PLAINTIFF

                                                7.

       Ms. Edwards is the Legal Guardian of Adam Edwards. Adam is an Incapacitated Adult

suffering from Severe Autistic Disorder and Unspecified Intellectual Disabilities and resides

with Ms. Edwards.

              CONTRACTUAL RELATIONSHIP BETWEEN THE PARTIES

                                                8.

       The Defendants entered a contract with one another for the purpose of providing services

to Defendant Gateway’s patients.

                                               8a.

       Adam is a patient of Gateway’s and is a third party beneficiary of the contract between

Defendants.

                                               8b.

       Defendants both had employees who provided services to Adam.

                                               8c.

       Particularly, Defendant Staffing lent Errol Wilkins to Defendant Gateway to provide

services to Adam and other patients of Defendant Gateway.

                                               8d.

       Particularly, Defendant Gateway allowed Errol Wilkins to provided services to Adam and
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other patients.

                                                8e.

       Adam was an invitee of Defendant Gateway.

                                                9.

       Particularly, Defendants jointly and continuously allowed Errol Wilkins to physically and

mentally abuse Adam.

                        FACTS OF THE SUBJECT OCCURENCES

                             OF PHYSICAL ABUSE OF ADAM

                                               10.

       Plaintiffs allege all preceding and subsequent paragraphs herein as if pled as this

paragraph.

                                               11.

       Prior to February 29, 2016 and on many occasions, Ms. Edwards would pick Adam up

from Gateway’s facilities and would notice wounds/bruises on Adam’s body in various places.

                                               11a.

       Prior to February 29, 2016 and on many occasions, Ms. Edwards would pick Adam up

from Gateway’s facilities and he would behave very differently once he got home.

                                               12.

       When Ms. Edwards would return Adam to Gateway and question staff members

(employees of both Defendants) concerning Adam’s wounds/bruises, she was never informed

that Adam was being abused by Errol Wilkins.

                                               12a.

       When Ms. Edwards would return Adam to Gateway and question staff members
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(employees of both Defendants) concerning Adam’s wounds/bruises, she was never informed

that an investigation had been performed.

                                               13.

       Prior to February 29, 2016, the Georgia Department of Behavioral Health and

Developmental Disabilities (hereinafter “DBHDD”) performed three (3) investigations

concerning the complaints of a mother of another patient whose son was also being abused by

Errol Wilkins.

                                               14.

       As a result of both Defendants’ employees being untruthful to DBHDD, the prior three

(3) investigations resulted in no findings of abuse of any patient of Defendant Gateway at the

hands of Errol Wilkins.

                                               15.

       However, on February 27, 2016, Ms. Rosetta Scott, a Gateway Instructor and Staffing

employee, informed Ms. Deborah Jones, a Gateway employee, that she saw Mr. Errol Wilkins, a

Gateway Instructor and Staffing employee, hitting Adam as well as another individual.

                                               16.

       As a result of Ms. Scott’s report of the abusive tactics of Mr. Wilkins, an investigation

was launched on February 29, 2016 by Mr. Mitch Sweeney, Gateway QM Coordinator.

                                               17.

       Mr. Sweeney devised a chronology of the incident and spoke with several employees of

Gateway.

                                               18.

Mr. Sweeney concluded:
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               Based on interviews, the allegations of physical abuse is substantiated against

               Mr. Errol Wilkins. Several staff and individuals stated that they have observed

               Mr. Wilkins hit Adam [Edwards] with his fist and/or open hand on several

               occasions and that this has been going on for several weeks. It has also been

               observed that Mr. Wilkins has often hit/punched [Adam] individual, who Wilkins

               is 1:1 with, in the back of the head when he accidentally soils himself. Verbal

               abuse has also been substantiated by witnesses who have heard Mr. Wilkins

               threaten, intimidate, and humiliate individuals at the training center. (Emphasis in

               original and added.).

                                               19.

       Mr. Sweeney then recommended the following:

       i.      Terminate employment with Mr. Wilkins.

       ii.     Cooperate with the Police Department on Criminal Investigation.

       iii.    Root Cause Analysis to be done with training center staff to determine

underlying reason for not reporting incident timely and take appropriate action with staff

involved.

                         CRITICAL FACTS OF INVESTIGATION

                                               20.

       Plaintiffs hereby adopt and allege all preceding and succeeding paragraphs herein as this

paragraph.

                                               21.

       Although the investigation report is attached, several facts need to be highlighted (which

are verbatim from the report):
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         Ms. Rosetta Scott stated in her interview:

         a.       All of us have seen it . . . . . people higher up than me such as Instructor IIs.

         b.       I thought someone else had reported.

         c.       I saw Errol hit [Adam] in the side of the head at the ear with a closed fist.

         d.       That was the last straw.

         e.       We’ve asked Errol to help get [Quincy] and Adam back in the classroom. He

then hits them.

         f.       I’ve seen him hit them both with a closed fist on multiple times.

         g.       At least 2-3 times a week, sometimes 2x per day.

         h.       Errol is a former gang member from Chicago and we’re a little afraid of him

retaliating. That is the main reason I did not report it before.

         i.       This has been going on for about 3 months. I believe it started in December.

         j.       I couldn’t take it anymore and it caused me anxiety.

         k.       Everyone that works in the back has seen it. If they say they didn’t, then they are

lying.

         l.       They don’t write him up.

         m.       If I were to do what he does, I would get written up.

                                                    22.

         An unidentified individual stated in his/her interview:

         a.       Both [Quincy] and Adam, he be hitting them beside the head. Sometimes with his

fist or a broke off handle from a rocking chair.

         b.       He punches [Quincy] and Adam.

         c.       I’ve told Robert Brown, but he doesn’t want me to get involved.
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       d.     Errol will say keep your ass in the chair . . . . if you move, I’ll knock you out.

       e.     Errol don’t care about anybody but himself.

                                                 23.

       Another unidentified individual states the following during his/her interview:

       a.     Sometimes he hits [Quincy] and Adam.

       b.     He hits them in the arms or side.

       c.     It has been happening a while . . . happened last week.

                                                 24.

       Rose Palmer, Instructor I, stated:

       a.     I have seen Errol hit them, and hits them with an open hand.

       b.     I know it’s not acceptable. (Emphasis added.).

       c.     I’ve told him don’t do that . . . as long as they’re inside . . . if they were outside

then that is when you should be concerned.

       d.     Never should you push, shove, or hit anyone inside or outside.

       e.     I saw him do it only once . . . back in January.

                                                 25.

       Faye Hines, Instructor I, stated in her interview:

       a.     Errol hitting happens throughout the week . . . 2-3 x a week, can be multiple

times a day. (Emphasis added.).

       b.     Adam or [Quincy] ‘draw up’ their arms to protect themselves or run if Errol

comes towards them. (Emphasis added.).

       c.     I’ve seen Errol hit Adam & [Quincy] with a closed fist in their sides.

       d.     He has hit [Adam] in the head with his fist.
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        e.         It happens often. (Emphasis added.).

        f.         I didn’t report it because I thought someone else had.

        g.         Everyone has seen it and I heard Errol had been spoken to about this.

                   (Emphasis added.).

        h.         I don’t remember who told me that he had been spoken to as it was a long time

ago. (Emphasis added.).

        i.         Its just been a matter of time that Errol got in trouble for this. (Emphasis

added.).

        j.         I used to tell Errol not to do this and don’t bother them. (Emphasis added.).

        k.         Everyone saw it happen and may not have wanted to get involved.

        l.         The first time I saw it was a couple of months ago.

        m.         They may not have wanted to get involved and could have been afraid.

        n.         Afraid of what Errol would do.

                                                    26.

        Cheryl Bailey, Instructor I, stated in her interview:

        a.         Errol has been very physical mainly with [Quincy], hitting him with a closed fist

in the ear area.

        b.         I’ve seen him hit with a closed fist even with jewelry on.

        c.         A lot of other staff see it happen and don’t say anything. (Emphasis added.).

        d.         Also, he has hit Adam with a closed fist.

        e.         It happens mainly in the warehouse, but sometimes in the day room.

        f.         It’s been going on for a month or two. (Emphasis added.).

        g.         He has been warned. (Emphasis added.).
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       h.      I and other staff have warned him that he was going to get caught. (Emphasis

added.).

       i.      He picks on them and calls them names. (Emphasis added.).

       j.      It happens several times a week and sometimes multiple times a day. (Emphasis

added.).

       k.      He’s from Chicago and says he was in a gang.

                                                27.

       Errol Wilkins, Instructor I, stated the following:

       a.      We aren’t allowed to hit them.

       b.      I put my hand on their shoulder & wrist to help them sit down. (Emphasis

added.).

       c.      I may not want to help the ladies in the future if this happens. (Emphasis

added.).

       d.      I’ve never pushed, shoved, or hit them.

                                          COUNT ONE

                FAILURE TO TRAIN AND SUPERVISE AN EMPLOYEE

                                                28.

       Plaintiff hereby adopts and alleges all preceding and succeeding paragraphs herein as this

paragraph.

                                                29.

       Defendant failed to train and supervise Errol Wilkins, and others, in the proper manner

for assisting the clientele of Gateway, particularly Adam.
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                                               30.

       Defendant failed to train and supervise Errol Wilkins, and others, in reporting physical

abuse of Gateway’s clientele by Defendant’s employees, particularly the abuse of Adam at the

hands of Errol Wilkins.

                                               31.

       Defendant failed to train and supervise Errol Wilkins, and others, in properly maintaining

a safe and secure environment for Gateway’s clientele, particularly Adam.

                                               32.

       Defendant failed to train and supervise Errol Wilkins, and others, in providing Humane

Treatment of Gateway’s clientele, particularly Adam.

                                               33.

       As a direct result of Defendant’s failure to properly train and supervise Errol Wilkins,

and other employees, Adam sustained injuries from which he did then suffer, now suffers, and

will continue to suffer great pain of body and mind. Additionally, Adam has sustained special

damages in the nature of medical bills in an amount no less than $1,000.

                                         COUNT TWO

      DEFENDANTS’ JOINT NEGLIGENT RETENTION OF AN EMPLOYEE and

                          AGENT/SERVANT – ERROL WILKINS

                                               34.

       Plaintiff hereby adopts and alleges all preceding and succeeding paragraphs herein as this

paragraph.

                                               35.

       Defendants negligently retained Errol Wilkins as an employee despite having knowledge
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of his failure to treat Adam and other clients of Gateway humanely.

                                               36.

        Defendants negligently retained Errol Wilkins as an employee despite having knowledge

of his intentional physical and mental abuse of Adam and other clients of Gateway.

                                               37.

        Defendants negligently retained Errol Wilkins as an employee despite having knowledge

of his intentional failure to provide a safe and secure environment for Adam and other clients of

Gateway.

                                               38.

        Defendants negligently retained Errol Wilkins as an employee and agent despite having

knowledge of his blatant breach of their contract, of which Adam is a third party beneficiary, and

their individual policies.

                                               39.

        Defendants negligently retained Errol Wilkins as an employee and agent despite having

knowledge of his blatant breach of their contract and each’s own policies by treating Adam and

other clients inhumanely.

                                               40.

        Defendants negligently retained Errol Wilkins as an employee and agent despite having

knowledge of his blatant breach of their contract and each’s own policies by physically mentally

abusing Adam and other clients.

                                               40a.

        Defendants negligently retained Errol Wilkins as an employee and agent and allowed him

to have contact with defenseless people such as Adam despite having knowledge of Errol
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Wilkins’ criminal history which involved the following:

       i.      Arrested for Robbery

       ii.     2nd Arrest for Robbery

       iii.    Arrested for Armed Robbery

       iv.     Arrested for Battery

                                               41.

       As a result of Defendants’ joint negligent retention of Errol Wilkins as an employee and

agent who breached their contract and each’s own policies, Adam sustained injuries from which

he did then suffer, now suffers, and will continue to suffer great pain of body and mind.

Additionally, Adam has sustained special damages in the nature of medical bills in an amount no

less than $1,000.

                                        COUNT THREE

                         NEGLIGENT BREACH OF A CONTRACT

                                               42.

       Plaintiffs hereby adopt and allege all preceding and succeeding paragraphs herein as this

paragraph.

                                               43.

       Defendants had a contract with one another, of which Adam is a third party beneficiary,

to provide Adam with:

a.     A safe and secure environment;

b.     Humane treatment;

c.     Self worth and dignity; and

d.     High quality customer service focused on outcomes of improved health.
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                                               44.

       Defendants jointly breached their contract and each’s own policies in the following

manners:

a.     In failing to maintain a safe and secure environment by allowing Adam to be subject to

the inhumane treatment of Errol Wilkins and other employees and staff;

b.     In failing to treat Adam inhumanely by allowing him to be subject to the treatment of

Errol Wilkins and other employees and staff;

c.     In failing to assist Adam keep his self worth and dignity by allowing Adam to be subject

to the inhumane treatment of Errol Wilkins and other employees and staff; and

d.     In failing to maintain high quality customer service focused on outcomes of improved

health for Adam by allowing Adam to be subject to the inhumane treatment of Errol Wilkins and

other employees and staff.

                                               45.

       As a result of Defendants’ jointly and negligently breaching their contract, of which

Adam is a third party beneficiary, Adam sustained injuries from which he did then suffer, now

suffers, and will continue to suffer great pain of body and mind. Additionally, Adam has

sustained special damages in the nature of medical bills in an amount no less than $1,000.

                                        COUNT FOUR

                 ASSAULT AND BATTERY by DEFENDANT STAFFING

                                               46.

       Plaintiff hereby adopts and alleges all preceding paragraphs herein as this paragraph.

                                               47.

       Defendant Staff’s employee and agent, Errol Wilkins, continuously committed assault
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and battery upon the person of Adam.

                                                48.

        Defendant Staff had knowledge of Errol Wilkins’ continuous assault and battery upon

Adam.

                                                49.

        Defendant Staff allowed Errol Wilkins’ continuous assault and battery to occur with

impunity.

                                                50.

        As a result of Errol Wilkins’ continuous assault and battery upon Adam, Adam sustained

injuries from which he did then suffer, now suffers, and will continue to suffer great pain of body

and mind. Additionally, Adam has sustained special damages in the nature of medical bills in an

amount no less than $1,000.

        WHEREFORE, plaintiff prays for the following:

        a.     That summons be issued requiring Defendants to be served as provided by law

               and requiring Defendants to answer the complaint;

        b.     That Plaintiffs have a trial by a fair and impartial jury of twelve members;

        c.     That Plaintiffs obtain an award of damages from Defendant jointly and severally

               in an amount to properly compensate Plaintiffs for their general damages (past,

               present, and future) and special damages;

        d.     That Plaintiffs obtain a punitive award against the Defendant jointly and severally

               to deter Defendants from repeating said actions in the future;

        e.     That the costs of bringing this action, attorney’s fees, and litigation costs be taxed

               against the Defendants jointly and severally;
    Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 48 of 86




       f.        And that Plaintiffs have such other and further relief as this Court shall deem just

and equitable.

                                                       THE WHITE LAW GROUP
                                                       /s/ Derek J. White
                                                       DEREK J. WHITE
                                                       Ga. Bar No. 753291
                                                       Counsel for the plaintiff

P.O. Box 787
Pooler, GA 31322
(912)330-9733
(912)330-9755(f)
Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 49 of 86




                           SERVICE INSTRUCTIONS

 Please serve Defendant Staffing through the Sheriff of Clayton County as follows:

 Healthcare Staffing, Inc.
 c/o Tracy L. Cameron
 1724 Phoenix Parkway, Building 600
 College Park, GA 30349

 Please serve Defendant Gateway by and through its Chief Executive Officer, Dr. Mark
 Johnson through the Sheriff of Glynn County as follows:

 Gateway Behavioral Health Services
 c/o Dr. Mark Johnson, CEO
 600 Coastal Village Drive
 Brunswick, GA 31520
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                           EXHIBIT 7 WITHHELD


        Subject to Motion for Temporary Limitation of Access to Exhibit




                                                                          PLAINTIFF'S
                                                                            EXHIBIT
                                                                              7
B-CLR Document 1-1 Filed
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                  STATE COURT OF LIBERTY COUNTY                                            CLERK OF STATE COURT
                                                                                         LIBERTY COUNTY, GEORGIA
                         STATE OF GEORGIA
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                CIVIL ACTION NUMBER STSV2022000129
   EDWARDS, SADIE

   PLAINTIFF
                                      VS.
   HISCOX, INC.
   HISCOX INSURANCE COMPANY INC.
   LLOYD'S AMERICA, INC., DBA Certain
   Underwriters at Lloyd's, London
   CERTAIN UNDERWRITERS AT LLOYD'S,
   LONDON

   DEFENDANTS

                                           SUMMONS
   TO: HISCOX, INC. Via its registered agent for service of process, Corporation Service Company, 2 Sun Court,
                    Suite 400, Peachtree Corners, Gwinnett County, Georgia 30092
   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Jed Manton
                             HARRIS LOWRY MANTON LLP
                             1418 Dresden Drive NE
                             Unit 250
                             Brookhaven, Georgia 30319

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 26th day of May, 2022.
                                                   Clerk of State Court




                                                                                        Page 1 of 1
Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 66 of 86

                  STATE COURT OF LIBERTY COUNTY                                            CLERK OF STATE COURT
                                                                                         LIBERTY COUNTY, GEORGIA
                         STATE OF GEORGIA
                                                                                       STSV2022000129
                                                                                                   JO
                                                                                          MAY 26, 2022 03:29 PM




                CIVIL ACTION NUMBER STSV2022000129
   EDWARDS, SADIE

   PLAINTIFF
                                      VS.
   HISCOX, INC.
   HISCOX INSURANCE COMPANY INC.
   LLOYD'S AMERICA, INC., DBA Certain
   Underwriters at Lloyd's, London
   CERTAIN UNDERWRITERS AT LLOYD'S,
   LONDON

   DEFENDANTS
                                           SUMMONS
                                     via its registered agent for service of process, Corporation
   TO: HISCOX INSURANCE COMPANY INC. Service Company, 2 Sun Court, Suite 400, Peachtree Corners,
                                     Gwinnett County, Georgia 30092

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:
                               Jed Manton
                               HARRIS LOWRY MANTON LLP
                               1418 Dresden Drive NE
                               Unit 250
                               Brookhaven, Georgia 30319

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 26th day of May, 2022.
                                                   Clerk of State Court




                                                                                        Page 1 of 1
Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 67 of 86

                  STATE COURT OF LIBERTY COUNTY                                            CLERK OF STATE COURT
                                                                                         LIBERTY COUNTY, GEORGIA
                         STATE OF GEORGIA
                                                                                       STSV2022000129
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                CIVIL ACTION NUMBER STSV2022000129
   EDWARDS, SADIE

   PLAINTIFF
                                      VS.
   HISCOX, INC.
   HISCOX INSURANCE COMPANY INC.
   LLOYD'S AMERICA, INC., DBA Certain
   Underwriters at Lloyd's, London
   CERTAIN UNDERWRITERS AT LLOYD'S,
   LONDON

   DEFENDANTS


                                           SUMMONS
   TO: LLOYD'S AMERICA, INC.

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Jed Manton
                             HARRIS LOWRY MANTON LLP
                             1418 Dresden Drive NE
                             Unit 250
                             Brookhaven, Georgia 30319

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 26th day of May, 2022.
                                                   Clerk of State Court




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Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 68 of 86

                  STATE COURT OF LIBERTY COUNTY                                            CLERK OF STATE COURT
                                                                                         LIBERTY COUNTY, GEORGIA
                         STATE OF GEORGIA
                                                                                       STSV2022000129
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                CIVIL ACTION NUMBER STSV2022000129
   EDWARDS, SADIE

   PLAINTIFF
                                      VS.
   HISCOX, INC.
   HISCOX INSURANCE COMPANY INC.
   LLOYD'S AMERICA, INC., DBA Certain
   Underwriters at Lloyd's, London
   CERTAIN UNDERWRITERS AT LLOYD'S,
   LONDON

   DEFENDANTS


                               SUMMONS
   TO: CERTAIN UNDERWRITERS AT LLOYD'S, LONDON

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Jed Manton
                             HARRIS LOWRY MANTON LLP
                             1418 Dresden Drive NE
                             Unit 250
                             Brookhaven, Georgia 30319

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 26th day of May, 2022.
                                                   Clerk of State Court




                                                                                        Page 1 of 1
          Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 69 of 86

                                                                              CLERK OF STATE COURT
                                                                            LIBERTY COUNTY, GEORGIA
                                           Liberty                         STSV2022000129
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EDWARDS, SADIE                             HISCOX, INC.


                                           HISCOX INSURANCE COMPANY INC.


                                           LLOYD'S AMERICA, INC.

                                           CERTAIN UNDERWRITERS AT LLOYD'S, LONDON


                  Manton, Jed                             868587




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      Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 70 of 86

                                                                                         CLERK OF STATE COURT
                                                                                       LIBERTY COUNTY, GEORGIA
                                                                                     STSV2022000129
                       IN THE STATE COURT OF LIBERTY COUNTY                                     JO
                                 STATE OF GEORGIA                                      MAY 26, 2022 04:22 PM


 SADIE EDWARDS, as legal guardian and next
 friend of ADAM EDWARDS,

        Plaintiff,                                    Civil Action File No.
                                                      STSV2022000129
 v.

 HISCOX, INC., HISCOX INSURANCE
 COMPANY INC., LLOYD’S AMERICA, INC.,
 d/b/a Certain Underwriters at Lloyd’s, London,
 and CERTAIN UNDERWRITERS AT
 LLOYD’S, LONDON,

        Defendants.

                             MOTION FOR APPOINTMENT OF
                           DIAL SERVICES TO SERVE PROCESS

       COMES NOW Plaintiff and files this Motion pursuant to O.C.G.A § 9-11-4 and moves

the Court for an Order authorizing STEVE BASHAM of Dial Services, Inc., as a citizen of the

United States, to serve a copy of the Complaint and Summonses in this case on Defendants

HISCOX, INC., HISCOX INSURANCE COMPANY INC., and LLOYD’S AMERICA, INC.,

d/b/a Certain Underwriters at Lloyd’s, London, on the grounds that STEVE BASHAM, of Dial

Services, Inc., is not registered as a process server in Liberty County State Court, as is more fully

shown in the Affidavit attached hereto.

       This the 26th day of May, 2022.

                                                      HARRIS LOWRY MANTON LLP

                                                       /s/ Jed D. Manton
                                                      JEFFREY R. HARRIS
                                                      Georgia Bar No. 330315
                                                      JED D. MANTON
                                                      Georgia Bar No. 868587
                                                      YVONNE S. GODFREY
                                                      Georgia Bar No. 318567
    Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 71 of 86




                                        MADELINE E. McNEELEY
                                        Georgia Bar No. 460652
1418 Dresden Dr. NE, Unit 250
Brookhaven, GA 30319
(404) 961-7650 (t)
(404) 961-7651 (f)
jeff@hlmlawfirm.com
jed@hlmlawfirm.com
yvonne@hlmlawfirm.com
molly@hlmlawfirm.com
                                        Attorneys for Plaintiffs
Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 72 of 86
Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 73 of 86
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                                                               CLERK OF STATE COURT
                                                             LIBERTY COUNTY, GEORGIA
                                                           STSV2022000129
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Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 75 of 86

                                                            CLERK OF STATE COURT
                                                          LIBERTY COUNTY, GEORGIA
                                                         STSV2022000129
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Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 76 of 86

                                                            CLERK OF STATE COURT
                                                          LIBERTY COUNTY, GEORGIA
                                                         STSV2022000129
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Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 77 of 86

                                                            CLERK OF STATE COURT
                                                          LIBERTY COUNTY, GEORGIA
                                                         STSV2022000129
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      Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 78 of 86

                                                                                            CLERK OF STATE COURT
                                                                                          LIBERTY COUNTY, GEORGIA

                        IN THE STATE COURT OF LIBERTY COUNTY                            STSV2022000129
                                                                                                   JO
                                  STATE OF GEORGIA                                        MAY 31, 2022 02:09 PM

 SADIE EDWARDS, as legal guardian and next
 friend of ADAM EDWARDS,

         Plaintiff,                                        Civil Action File No. STSV2022000129

 v.

 HISCOX, INC., HISCOX INSURANCE
 COMPANY INC., LLOYD’S AMERICA, INC.,
 d/b/a Certain Underwriters at Lloyd’s, London, and
 CERTAIN UNDERWRITERS AT LLOYD’S,
 LONDON,

         Defendants.

         MOTION FOR TEMPORARY LIMITATION OF ACCESS TO EXHIBIT

        Plaintiff moves this Court to temporarily seal for 30 days Exhibit 7 to her Complaint filed

May 26, 2022.

        Exhibit 7 is a contract between HealthCare Staffing, Inc. (“HCS”) and Plaintiff that assigns

to Plaintiff the right to bring certain claims against Defendants.           The contract contains a

confidentiality provision that restricts disclosure of the terms of the contract. Plaintiff filed suit on

May 26, 2022, bringing certain claims against Defendants pursuant to the assignment. However,

Plaintiff inadvertently filed the contract into the public record and not under seal when she attached

it as an exhibit to her Complaint.

        Plaintiff respectfully requests that this Court enter an order pursuant to Uniform Superior

Court Rule 21.3 that temporarily limits access to the contract by sealing the exhibit and removing

it from the public docket for a period of 30 days. During that time, Plaintiff’s counsel will work

with HCS’s counsel to agree upon redactions or other protections for the document. An affidavit

supporting this request is attached. Further attached for the Court’s convenience are a Proposed
    Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 79 of 86



Order and an “Exhibit 7 Placeholder” that may be inserted into the public record in place of the

temporarily sealed exhibit.

       Respectfully submitted this 31st day of May, 2022.

                                            HARRIS LOWRY MANTON LLP

                                            /s/ Jed D. Manton
                                            JEFFREY R. HARRIS
                                            Georgia Bar No. 330315
                                            JED D. MANTON
                                            Georgia Bar No. 868587
                                            YVONNE S. GODFREY
                                            Georgia Bar No. 318567
                                            MADELINE E. McNEELEY
                                            Georgia Bar No. 460652
1418 Dresden Dr. NE, Unit 250
Brookhaven, GA 30319
Telephone: (404) 961-7650
Facsimile: (404) 961-7651
                                            Attorneys for Plaintiffs




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                           EXHIBIT 7 WITHHELD


        Subject to Motion for Temporary Limitation of Access to Exhibit




                                                                          PLAINTIFF'S
                                                                            EXHIBIT
                                                                              7
      Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 82 of 86




                       IN THE STATE COURT OF LIBERTY COUNTY
                                 STATE OF GEORGIA

 SADIE EDWARDS, as legal guardian and next
 friend of ADAM EDWARDS,

        Plaintiff,                                      Civil Action File No. STSV2022000129

 v.

 HISCOX, INC., HISCOX INSURANCE
 COMPANY INC., LLOYD’S AMERICA, INC.,
 d/b/a Certain Underwriters at Lloyd’s, London, and
 CERTAIN UNDERWRITERS AT LLOYD’S,
 LONDON,

        Defendants.

                                    [PROPOSED] ORDER

       This matter is before the Court on Plaintiffs’ Motion for Temporary Limitation of Access

to Exhibit. Upon review of the Motion and for cause shown,

       IT IS HEREBY ORDERED that the Motion is GRANTED. The Clerk of Court is directed

to SEAL Exhibit 7 to Plaintiff’s Complaint, which was filed on May 26, 2022, and not to allow

public access to same by any means, including by review of the paper file, by electronic access

through PeachCourt, or by any other means. The Clerk shall REMOVE said Exhibit from the

public docket and REPLACE it with the “Exhibit 7 Placeholder” attached to Plaintiff’s Motion.

This Order shall remain in place for a period of 30 days.

       SO ORDERED this ___ day of ____________, 2022.




                                                     Hon. Jeff Osteen
                                                     State Court of Liberty County
Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 83 of 86

                                                               CLERK OF STATE COURT
                                                             LIBERTY COUNTY, GEORGIA
                                                           STSV2022000129
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      Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 84 of 86

                                                                            CLERK OF STATE COURT
                                                                          LIBERTY COUNTY, GEORGIA
                                                                         STSV2022000129
                     IN THE COURT OF LIBERTY COUNTY                                JO
                                                                          JUN 13, 2022 03:33 PM
                             STATE OF GEORGIA

 SADIE EDWARDS, as legal guardian and
 next friend of ADAM EDWARDS,

        Plaintiff,

 v.
                                                Civil Action File No.:
 HISCOX, INC., HISCOX INSURANCE                 STSV2022000129
 COMPANY INC., LLOYD’S AMERICA,
 INC. d/b/a Certain Underwriters at Lloyd’s,
 London, and CERTAIN UNDERWRITERS
 AT LLOYD’S LONDON,

        Defendants.

                      ACKNOWLEDGMENT OF SERVICE

       Defendant Certain Underwriters at Lloyd’s, London, by and through their

undersigned counsel, hereby acknowledge service of Summons and Complaint in

this matter, waiving all other formal requirements for service. Said Defendants’ time

to file responsive pleadings shall be July 7, 2022. All defenses, except service of

process, are preserved.

       This 13th day of June, 2022.

                                       FREEMAN MATHIS & GARY, LLP

                                       /s/ Philip W. Savrin
                                       Philip W. Savrin
                                       Georgia Bar No. 627836
                                       psavrin@fmglaw.com
    Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 85 of 86




                                   Lee D. Whatling
                                   Georgia Bar No. 689717
                                   lwhatling@fmglaw.com
                                   Attorneys for Defendant
                                   Certain Underwriters at Lloyd’s, London
100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
678-996-9090 (direct)
770-937-9960 (fax)




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    Case 4:22-cv-00148-RSB-CLR Document 1-1 Filed 06/15/22 Page 86 of 86




                             CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

ACKNOWLEDGEMENT OF SERVICE to the Clerk of Court using the

PeachCourt system which will automatically send electronic mail notification of

such filing to the following counsel of record:

                                 Jed D. Manton
                               Yvonne S. Godfrey
                             Madeline E. McNeeley
                           Harris Lowry Manton LLP
                        1418 Dresden Drive, NE, Unit 250
                             Brookhaven, GA 30319

                                  Derek J. White
                               The White Law Group
                                   P.O. Box 787
                                 Pooler, GA 31322

      This 13th day of June, 2022.


                                              /s/ Philip W. Savrin
                                              Philip W. Savrin
                                              Georgia Bar No. 627836

                                              Attorney for Defendant
                                              Certain Underwriters at Lloyd’s,
                                              London
FREEMAN MATHIS & GARY, LLP
100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
678-996-9090 (direct)
770-937-9960 (fax)




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